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                    United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                     TEL. 504-310-7700
CLERK                                                          600 S. MAESTRI PLACE,
                                                                       Suite 115
                                                              NEW ORLEANS, LA 70130

                            November 09, 2023


Ms. Christina Cella
Office of the Attorney General of Texas
General Litigation Division
300 W. 15th Street
William P. Clements Building
6th Floor
Austin, TX 78701

Ms. Kateland R. Jackson
Office of the Attorney General
Office of the Solicitor General
209 W. 14th Street
7th Floor
Austin, TX 78701

Mr. Michael Lambert
Haynes & Boone, L.L.P.
600 Congress Avenue
Suite 1300
Austin, TX 78701

Ms. Lanora Christine Pettit
Office of the Texas Attorney General
Solicitor General Division
P.O. Box 12548 (MC-059)
Austin, TX 78711-2548

Ms. Laura Lee Prather
Haynes & Boone, L.L.P.
600 Congress Avenue
Suite 1300
Austin, TX 78701

Ms. Catherine Lewis Robb
Haynes & Boone, L.L.P.
600 Congress Avenue
Suite 1300
Austin, TX 78701

Mr. Coy Allen Westbrook
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Office of the Attorney General of Texas
Office of the Solicitor General
P.O. Box 12548 (MC 059)
Austin, TX 78711-2548

     No. 23-50668      Book People v. Wong
                       USDC No. 1:23-CV-858


Dear Counsel,
Any party filing a matter outside normal business hours (M-F, 8:00
a.m. – 5:00 p.m.) that may require the court’s immediate attention
should call the emergency duty deputy and inform them of the
filing, even if the matter does not qualify as an emergency under
5th Cir. R. 27.3. The emergency duty deputy can be reached at 504-
442-0252.


                                 Sincerely,
                                 LYLE W. CAYCE, Clerk



                                 By: _________________________
                                 Peter A. Conners, Deputy Clerk
                                 504-310-7685
